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                                                    June 5, 2020




 Honorable Karen M. Williams, U.S.M.J.
 U.S. District Court, District of New Jersey
 Mitchell H. Cohen Building & U.S. Courthouse
 4th & Cooper Streets Room 1050
 Camden, NJ 08101

        Re:       The HomeSource Corp. v. Retailer Web Services, LLC
                  Case No. 1:18-cv-11970

 Dear Magistrate Judge Williams:

        This firm is newly engaged local counsel for Defendant, Retailer Web Services, LLC
 (“RWS”), in the above referenced matter. I write to update the Court and request a telephone
 conference next week at the Court’s convenience.

        Pursuant to the Court’s May 20, 2020 Order [Doc. No. 175], the Court, sua sponte, found
 good cause to seal the Kane Declaration located at Docket Number 140-1 as well as the Certification
 of James H. Kane, Jr. located at Docket Number 134. The Court found:

                  These documents were filed on the Docket at the Court’s direction to
                  support RWS’s omnibus Motion to Seal and to provide the Court
                  necessary information to contextualize the nature of the materials at
                  issue and the alleged harm RWS will incur if sealing is denied. The
                  information contained therein might not have been revealed otherwise,
                  thus the Court shall seal the Kane Declaration and the Kane
                  Certification as they were provided for the limited purpose of aiding
                  the Court.




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Montgomery McCracken Walker & Rhoads LLP

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      [Doc. No. 175 at page 27.] Today, RWS will file the redacted versions of the Kane Declaration
      and Certification pursuant to Local Civil Rule 5.3(c)(7). RWS will also file redacted versions of
      previously filed documents that contained personal identifiers consistent with your Order. 1

              Regarding the paragraph cited above from the Court’s Order granting sua sponte relief,
      RWS is uncertain whether it should also file redacted versions of Docket Numbers 144 and 146,
      to the extent these docket entries contain four short and direct citations to the Kane Certification,
      regarding the exact ownership percentages of various entities.2 These citations are not found
      outside of the Kane documents. RWS respectfully requests a telephone conference with Your
      Honor and Plaintiffs to discuss the scope of the Court’s Order to ensure RWS is conforming with
      the Court’s intention. RWS will, of course, file any application the Court deems appropriate
      following the Court’s guidance on this issue.

                                                              Respectfully submitted,

                                                              s/Louis R. Moffa, Jr.

                                                              Louis R. Moffa, Jr.


      LRM:gme
      cc:  Adam Wolek, Esquire (via ECF notification)
           William C. Wagner, Esquire (via ECF notification)




      1
          RWS withdraw its request to seal Doc. No. 115 with respect to the identity of RWS’s internet service provider.

      2
          Plaintiffs disagree with RWS’s interpretation.




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